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                         IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

CAMELBAK PRODUCTS, LLC,

        Plaintiff,                                          Civil Action No.: 1:20-cv-03947

v.                                                          Judge Thomas M. Durkin

THE PARTNERSHIPS AND UNINCORPORATED                         Magistrate Judge Susan E. Cox
ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

        Defendants.



                                   NOTICE OF DISMISSAL

        Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

                 NO.                                 DEFENDANT
                 177                                  regoldseller
                 186                                    yang-14
                 131                                  mayshi321
                 132                                Outdoor_tops321


DATED: August 24, 2020                       Respectfully submitted,

                                                     /s/ Keith A. Vogt
                                                     Keith A. Vogt (Bar No. 6207971)
                                                     Keith Vogt, Ltd.
                                                     111 West Jackson Boulevard, Suite 1700
                                                     Chicago, Illinois 60604
                                                     Telephone: 312-675-6079
                                                     E-mail: keith@vogtip.com

                                                     ATTORNEY FOR PLAINTIFF
    Case: 1:20-cv-03947 Document #: 27 Filed: 08/24/20 Page 2 of 2 PageID #:4259




                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on August 24, 2020 with the Clerk of the Court using the
CM/ECF system, which will automatically send an email notification of such filing to all registered
attorneys of record.

                                                     /s/ Keith A. Vogt
                                                     Keith A. Vogt
